                           Case 1:21-cr-00193-BAH Document 8 Filed 02/09/21 Page 1 of 1



AO 442 (Rev.    II/II)    Arrest Warrant




                                                    UNITED STATES DISTRICT COURT
                                                                                  for the

                                                                       District of Columbia

                         United States of America
                                           v.                                       )
                                                                                    ) Case: 1.:21-mj~00172
                           Greg Rubenacker
                                                                                    ) Assigned to': Judge Zia M. Fal'lUqlJi
                                                                                    ) Assign Date: 1/27/2021
                                                                                    ) Description: COMPLAINT WI ARREST WARRANT
                                                                                    )
                                   De/endant


                                                                 ARREST WARRANT
To:        Any authorized law enforcement officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name a/person      10   be arrested)                                                       Greg Rubenacker
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment               o     Superseding Indictment              o   Information         o   Superseding Information           N Complaint
o     Probation Violation Petition                   o   Supervised Release Violation Petition             o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:

18 U.S.c. 1752(a)(1)&(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority; 40 U .S.C. 5104( e)(2)(D)&(G) - Violent Entry and Disorderly Conduct on
Capitol Grounds


                                                                                                                      2021.01.27
                                                                                                                      17:58:22 -05'00'
Date:            01/27/2021
                                                                                                            Issuing officer's Signature

City and state:                             Washin ton D.C.
                                                                                                              Printed name and title


                                                                                 Return

           This warrant was received on (dale)                 \,:;.,,, <i:(     ~aL      and the person was arrested on (date)
at (cily and slale)   -; CA r /V\. c"') c) .c... I <Z.... } JIJ \.(---       .


Date:    ~-;~c~L,~_""(~~~
                      __ ·d-._                  I




                                                                                                              Printed name and title
